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SEOUL SEMICONDUCTOR CO., LTD.
15
Soe UNITED STATES DISTRICT COURT.
16
NORTHERN DISTRICT OF CALIFORNIA: >>
SAN FRANCISCO DIVISION
18
ENPLAS DISPLAY DEVICE CORPORATION; CASE NO, 3:13-CV-05038-NC
19 | ENPLAS TECH SOLUTIONS, INC.; and
ENPLAS (U.S.A.). DECLARATION OF Kiho Kim IN
20 SUPPORT OF SEQUL -
Plaintiff and Counterclaim SEMICONDUCTOR CO.,, LTD'S
21 Defendants, OPPOSITION TO EDD’S MOTION FOR
ORDER STAYING EXECUTION OF
22 v. JUDGMENT AND WAIVER OF
a REQUIREMENT TO POST
23 | SEOUL SEMICONDUCTOR CO,, LTD., SUPERSEDEAS BOND
24 Defendant and Counterclaim Assigned to Hon. Nathanael M. Cousins
Plaintiff,
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28 |
LATHAMS WATKINS US-DOCSW71396621.1 CASE NO,: 3:13-CV-05038-NC
Arron nye Ae bee . DECL. OF Kiho Kim ISO SSC°S OPP
TO EDD’S MOTION TO STAY JUDGMENT

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I, Kaho Kim, state and declare as follows:
I. Jam IP in-house lead counsel for Defendant Seoul Semiconductor Co., Ltd.
(“SSC”). I make this declaration in support of SSC’s Opposition to EDD’s Motion for Order
Staying Execution of Judament and Waiver of Requirement to Post Supersedeas Bond.

2. 1 have personal knowledge of the facts stated herein, and, if called to testify as a
witness, |] could and would testify competently thereto.

3. Attached hereto as Exhibit A ts a true and correct copy of the fiscal year 2017
quarterly finance report for Enplas Corporation (covering April 1, 2016 through June 30, 2016),

which is publically available at http:/Avww-.enplas.co.jp/ipAwp-

content/uploads/2016/08/yuhou 201610.pdf I am fluent in both Japanese and English The ~~

first paragraph of page 4, when translated from Japanese to English, states that for “LED
diffusion lenses, due to the strong impact caused by the global reduction in LCD televisions,
sales (o major customers have been sluggish, As a result, the sales of the plastics optics business
segment were 2.514 million Japanese Yen (a year-on-year decrease of 42.4%) and its operating
income was 764 million Japanese Yen (a year-on-year decrease of 63.8%).” J understand that
“LED diffusion lenses” here refers to the lenses sold by EDD. SO

4, Attached hereto as Exhibit B ts a true and correct copy of the English-language
presentation materials associated with the same financial quarter discussed in Exhibit A. Page
18 of Exhibit B provides charts showing the steep decline in sales and operating income over the
last two quarters for the plastic optics business of Enplas Corporation, which | understand
includes EDD.

5. SSC has filed a civil claim in Korean Seoul Central District Court against Enplas
Corporation based on the unlawful trade conduct of Ienplas Corporation and its subsidiary EDD,

The complaint currently secks 10 billion Korean Won for damages (which according to current

foreign exchange rates, would amount to approximately $9.1 miilion). The complaint also notes
that SSC may increase damages sought based on newly-collected evidence up to 100 billion

Korean Won (which would amount to approximately $91 million).

6. The Korean Fair Trade Commission (“FTC”) is currently investigating the
at US-DOCSW7 13966! d CASTE NO.: 3:13+CW-05038-NC
' ‘ ] ‘ DECL. OF Riho Kim ISO SSC°S OPP

TO EDD’S MOTION TO STAY JUDGMENT

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1 unlawful trade conduct of Enplas Corporation and its subsidiary EDD. If Enplas Corporatian’s

2) conduct if found unlawful, it will be subject to fines set by the FTC,
3 ] declare under penalty of perjury of the laws of the United States that the foregoing is

4 = true and correct,

5 ixecuted at Ansan, South Korea on September 28, 2016,

5 (omy
By we”, }

7. Kiho Kin ™
IP in-house lead cotinsel of

8 Seoul Semiconduétor co. itd.

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LATHAMsWATKING * US-DOCS\71396621.1 CASE NO.: 3:13-CV-05038-NC
eee tenn ‘ . 9° DECL. OF Kiho Kim [SO S5C’S OPP
TO EDD’S MOTION TO STAY JUDGMENT

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